                        JOURNAL ENTRY and OPINION
The relator, Tony Thompson, has filed a complaint for a writ of mandamus. The relator seeks an order from this court which requires the respondent, Judge Daniel O. Corrigan, to grant two hundred and thirty (230) days of pre-conviction jail-time credit in the underlying case of State v. Thompson, Cuyahoga County Court of Common Pleas Case No. CR-372501. The respondent has filed a motion for summary judgment.
Attached to the respondent's motion for summary judgment is a copy of a judgment entry, journalized on October 23, 2001, which demonstrates that the relator has been granted pre-conviction jail-time credit in the amount of two hundred and thirty days in CR-372501. The relator's request for a writ of mandamus is thus moot. State ex rel. Gantt v. Coleman (1983), 6 Ohio St.3d 5, 450 N.E.2d 1163; State ex rel. Jerningham v. Cuyahoga County Court of Common Pleas (1996), 74 Ohio St.3d 278,658 N.E.2d 723.
Accordingly, we grant the respondent's motion for summary judgment. Costs to relator. It is further ordered that the Clerk of the Eighth District Court of Appeals shall serve upon all parties, pursuant to Civ.R. 58(B), notice of this judgment and date of entry.
Writ denied.
JAMES D. SWEENEY, P.J., and FRANK D. CELEBREZZE, JR., J., CONCUR